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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


 UNITED STATES OF AMERICA,                             Case No. 10-CR-0339(6) (PJS/JJK)

                        Plaintiff,

 v.                                                                  ORDER

 CRUZ ROSALES,


                        Defendant.

       Jeffrey S. Paulsen, UNITED STATES ATTORNEY’S OFFICE, for plaintiff.

       Michael C. Hager, HAGER LAW OFFICE, for defendant Cruz Rosales.

       This matter is before the Court on the motion of defendant Cruz Rosales to unseal certain

documents. For the reasons stated below, the Court denies the motion and orders that redacted

versions of the documents be filed. The Court also orders Rosales to file a redacted version of

his motion to unseal.

                                       I. BACKGROUND

       Rosales pleaded guilty to conspiring to distribute and distributing methamphetamine and

other drugs and was recently sentenced to serve 42 months in prison. Before he pleaded guilty,

Rosales moved to suppress the fruits of a search at the Minneapolis/St. Paul International Airport

that was conducted by an agent of the Transportation Security Administration (“TSA”). After

two evidentiary hearings and multiple rounds of briefing, that motion was denied. ECF

Nos. 312, 340, 366.

       Just before trial was scheduled to begin, the government asked that certain portions of the

record relating to Rosales’s suppression motion be placed under seal because they contain
